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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

ANGELA G.,

       Plaintiff,                                     Case No.: 3:23-cv-381

vs.

COMMISSIONER OF THE SOCIAL                            District Judge Michael J. Newman
SECURITY ADMINISTRATION,                              Magistrate Judge Kimberly A. Jolson

      Defendant.
___________________________________________________________________________

     ORDER: (1) GRANTING THE PARTIES’ JOINT MOTION FOR AN AWARD OF
 ATTORNEY’S FEES UNDER THE EQUAL ACCESS TO JUSTICE ACT (Doc. No. 16); (2)
 AWARDING EAJA FEES TO PLAINTIFF IN THE TOTAL AMOUNT OF $3,550.00; AND
 (3) MAINTAINING THE TERMINATION OF THIS CASE ON THE COURT’S DOCKET
______________________________________________________________________________

       This Social Security case is before the Court on the parties’ joint motion for an award of

attorney’s fees under the Equal Access to Justice Act (“EAJA”), 28 U.S.C. § 2412(d), in the amount

of $3,550.00. Doc. No. 16. The parties agree that an award of $3,550.00 in attorney fees satisfies

all of Plaintiff’s claims for fees, costs, and expenses under the EAJA claims in the instant case. Id.

       For good cause shown, the Court: (1) GRANTS the parties’ joint motion; and (2)

AWARDS EAJA fees in the total amount of $3,550.00. As no further matters remain pending for

review, this case remains TERMINATED upon the Court’s docket.

       IT IS SO ORDERED.

       July 2, 2024                                   s/Michael J. Newman
                                                      Hon. Michael J. Newman
                                                      United States District Judge
